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EXHIBIT 7
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BRYAN BOIGRIS AUGUST 15, 2017

 

 

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Bryan Boigris August 15, 2017
IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD

OPPOSITION NO. 91231985

EWC P&T, LLC,

vs.

Opposer,

BRYAN BOIGRIS,

Defendant.

 

Public,
Taking

2800 Southwest Third Avenue
Miami, Florida

Tuesday, August 15, 2017
10:29 a.m. to 3:14 p.m.

VIDEOTAPED DEPOSITION OF BRYAN BOIGRIS

Taken before Marlene Gutierrez, Notary
State of Florida at Large, pursuant to Notice of
Deposition filed in the above cause.

 

 

800-726-7007

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1 APPEARANCES

2 OLIVER ALAN RUIZ, ESQ.
JONATHAN WOODARD, ESQ.
3 Malloy & Malloy, P.L.
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4 Miami, Florida 33129
Oruize@malloylaw.com
5 On behalf of the Opposer.
6 PATRICK G. DEMPSEY, ESQ.
Hirzel, Dreyfuss & Dempsey, PLLC
7 2333 Brickell Avenue
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8 Miami, Floida 33129
Dempsey@hddlawfirm.com
9 On behalf of the Applicant.
10 ALSO PRESENT:
11 CHRISTIAN HERNANDEZ, Videographer.
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BRYAN BOIGRIS AUGUST 15, 2017

 

 

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of 2016?

A No.

Q Okay. Did you ever do any test, the consumer
studies for cosmetics prior to April 29 of 2016?

A I don't recall.

Q Did you seek out any investors or business
partners in the cosmetic industry prior to April 29 of
2016?

A Can you restate the question, please?

Q Did you seek any investors or business partners
in the cosmetic industry prior to April 29, 2016?

A No.

Q Okay. Did you have any communications with
retailers prior to April 29, 2016 regarding the cosmetic
industry?

A No.

Q Had you done anything insofar as packaging in
the cosmetic industry prior to April 29, 2016?

A No.

Q Did you have any involvement with any product
design in the cosmetic industry or communications with
the product designers prior to April 29, 2016?

MR. DEMPSEY: Object to the form.
BY MR. RUIZ:

Q Let me restate it because of the objection.

 

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